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                                   UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF New Jersey



In re: CC Oldco Corporation,                                      §                 Case No. 20-18488
                                                                  §
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 03/31/2022                                                            Petition Date: 07/13/2020



Plan Confirmed Date:01/22/2021                                                       Plan Effective Date: 01/25/2021


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Congoleum Corporation Liquidating Trus
                                                                                  Name of Authorized Party or Entity




/s/ Mary E. Seymour                                                     Mary E. Seymour
Signature of Responsible Party                                           Printed Name of Responsible Party
04/28/2022
                                                                        Lowenstein Sandler LLP
Date                                                                    One Lowenstein Drive
                                                                        Roseland, NJ 07068
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                      Total Since
                                                                                              Current Quarter        Effective Date

 a. Total cash disbursements                                                                                 $0                $103,463
 b. Non-cash securities transferred                                                                          $0                     $0
 c. Other non-cash property transferred                                                                      $0                     $0
 d. Total transferred (a+b+c)                                                                                $0                $103,463

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                Approved       Approved     Paid Current      Paid
                                                                              Current Quarter Cumulative      Quarter       Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor              Aggregate Total
                                                                                         $0    $3,644,030             $0     $3,527,077
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Cole Schotz                        Lead Counsel                         $0    $1,262,527             $0     $1,239,605
        ii       B. Riley Securities                Financial Professional               $0      $550,900             $0        $550,900
        iii      Gibbons                            Special Counsel                      $0      $109,274             $0         $63,288
        iv       Prime Clerk                        Other                                $0       $19,103             $0         $11,635
        v        Phoenix Management                 Financial Professional               $0      $509,649             $0        $490,724
        vi       Lowenstein Sandler                 Other                                $0      $995,167             $0        $977,099
        vii      Dundon                             Other                                $0      $197,410             $0        $193,826
        viii
        ix
        x
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        xiii
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        xv
        xvi
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                                                                              Approved       Approved     Paid Current      Paid
                                                                            Current Quarter Cumulative      Quarter       Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor             Aggregate Total
                                                                                       $0      $159,584             $0       $149,485
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i         Dughi, Hewit & Domalewski        Special Counsel                      $0      $130,262             $0       $127,897
       ii        Amster, Rothstein & Ebenstein Special Counsel                         $0       $17,800             $0        $10,066
       iii       Brown & Connery, LLP             Special Counsel                      $0       $11,522             $0        $11,522
       iv
       v
       vi


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            xcii
            xciii
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            xcviii
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            ci
c.          All professional fees and expenses (debtor & committees)                         $0                $0           $0     $3,676,563

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                       % Paid of
                                                  Payments            Paid Current                                                 Allowed
                                                 Under Plan             Quarter           Paid Cumulative       Allowed Claims      Claims
 a. Administrative claims                             $6,455,098                 $0               $5,316,870          $6,455,098        82%
 b. Secured claims                                  $66,970,688                  $0            $40,235,344           $40,235,344       100%
 c. Priority claims                                        $300,000              $0                $300,000            $300,000        100%
 d. General unsecured claims                                    $0                   $0                  $0                  $0          0%
 e. Equity interests                                            $0               $0                      $0


Part 4: Questionnaire
     a. Is this a final report?                                                                                Yes     No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                      Yes     No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Matthew J. Dundon                                                 Matthew J. Dundon
Signature of Responsible Party                                         Printed Name of Responsible Party
Trustee                                                                04/28/2022
Title                                                                  Date




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                                                      Page 2 Minus Tables




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                                                      Bankruptcy Table 51-100




                                                      Non-Bankruptcy Table 1-50




                                                     Non-Bankruptcy Table 51-100




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